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Hulk Hogan Awarded $115 Million in
Privacy Suit Against Gawker
By Nick Madigan and Ravi Somaiya

March 18, 2016

The retired wrestler Hulk Hogan was awarded $115 million in damages on Friday by a Florida
jury in an invasion of privacy case against Gawker.com over its publication of a sex tape — an
astounding ﬁgure that tops the $100 million he had asked for, that will probably grow before the
trial concludes, and that could send a cautionary signal to online publishers despite the likelihood
of an appeal by Gawker.

The wrestler, known in court by his legal name, Terry G. Bollea, sobbed as the verdict was
announced in late afternoon, according to people in the courtroom. The jury had considered the
case for about six hours.

Mr. Bollea’s team said the verdict represented “a statement as to the public’s disgust with the
invasion of privacy disguised as journalism,” adding: “The verdict says, ʻNo more.’ ”

The damages awarded to Mr. Bollea on Friday were compensatory: $55 million for economic
harm and $60 million for emotional distress. Punitive damages will be established separately,
which raises the prospect that Gawker will have to submit to a detailed examination of its
ﬁnances in court so the jury can assess the scale of the damages.

Gawker’s founder, Nick Denton, said in his own statement that the jury did not hear all the facts.
“We feel very positive about the appeal that we have already begun preparing, as we expect to
win this case ultimately,” he said.

The meaning of the verdict will not be clear for some time. But the perception that a Manhattan
media company, noted for its wry tone and its insistence that nearly any topic is fair game, was
brought low by a celebrity ﬁghting for privacy is most likely to resonate widely across the
industry.

At issue in the case, in Pinellas County Circuit Court, was a grainy black-and-white tape made in
the mid-2000s, which showed Mr. Bollea having sex with the wife of a friend of his at the time,
Todd Clem, a radio shock jock who had legally changed his name to Bubba the Love Sponge Clem.

Gawker posted a brief excerpt in a 2012 post by Albert J. Daulerio, the site’s former editor in chief,
that mused on the appeal of celebrity sex tapes.


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The case represented a peculiar clash of worlds, and it was a surreal spectacle. Mr. Bollea
explained his relationship with Mr. Clem, and the ways in which Mr. Clem had encouraged him to
sleep with his wife. He also drew a distinction between himself and Hulk Hogan, who he
suggested were separate personas.

Mr. Daulerio, who was named in the suit along with Mr. Denton, decided to joke about child
pornography in his deposition, which shocked the court. And the jurors had to try and make sense
of it all.

Mr. Bollea’s lawyers said that the publication of the video was a gratuitous invasion of privacy,
and had no news value. One of them, Kenneth G. Turkel, took particular aim at the contention that
Gawker’s posting of the video was an act of journalism and was therefore protected under the
First Amendment. He described the publication as “morbid and sensational prying.”

He maintained that had the site’s editors been operating under the rules of professional
journalism, they would have contacted Mr. Bollea to ask his permission to publish the video, or at
least to warn him that they were going to do so. In any case, Mr. Turkel said, it served only as
fodder for readers’ clicks and a source for advertising revenue, Mr. Turkel said.

Gawker had argued that its posting of a brief excerpt of the tape was protected by the
Constitution, and that Mr. Bollea had given up his right to privacy by talking often in public about
his sex life. “He has chosen to seek the spotlight,” a lawyer for Gawker, Michael Sullivan, said.
“He has consistently chosen to put his private life out there.”

In his closing statement for the defense, Mr. Sullivan insisted that uncovering the sometimes less-
than-laudatory activities of public ﬁgures “is what journalists do, and at the end of the day it’s
what we want journalists to do.”

After accounts of the video and images from it surfaced online — but several months before Mr.
Daulerio’s 2012 post — Mr. Bollea addressed it in an appearance on a television show run by the
website TMZ and in other interviews. “The public discussion was already going on,” Mr. Sullivan
said.




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                  Hulk Hogan with Seema Ghatnekar, a lawyer. He claimed he was emotionally damaged
                  by Gawker’s publication of the video.



The verdict is a blow for Gawker, which has rebranded itself as a politics site since it published
the tape and has sought to clean up its image in the wake of a series of scandals.

The company is technically required to post a bond, which is capped at $50 million, before
appealing. But it will almost certainly appeal that bond.

The potential effect on the business, which employs about 250 people across seven websites, was
not immediately clear. The company recently took signiﬁcant outside investment for the ﬁrst
time, speciﬁcally to prepare for the case, and has been conﬁdent it can meet any ﬁnancial
demands the case places on it.

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In the statement on Friday, Gawker said its team was “disappointed the jury was unable to see
key evidence and hear testimony from the most important witness.”

That was an apparent reference to Mr. Clem. According to documents unsealed on Friday, the
radio host initially told federal investigators that Mr. Bollea was aware that his tryst with Mrs.
Clem was being recorded. But he later changed that account after Mr. Bollea sued him, saying the
former wrestler did not know a camera was present.

Apparently fearing that if he testiﬁed in the trial he could be subject to prosecution for giving
differing accounts of the events, Mr. Clem invoked his right to not incriminate himself and was
not called as a witness.

The plaintiff’s legal team issued its own statement, saying that during the three and a half years
since the lawsuit was ﬁled, Mr. Clem had testiﬁed only once under oath and had “conﬁrmed that
Terry Bollea had no knowledge of being ﬁlmed or anything to do with it.”

Samantha Barbas, a law professor at the University at Buffalo whose research focuses on the
intersection of the First Amendment, media and privacy, said the verdict “could have a profound
impact on privacy rights and also free press rights” in the United States.

“For a jury to say that a celebrity has a right to privacy that outweighs the public’s ʻright to know,’
and that a celebrity sex tape is not newsworthy, represents a real shift in American free press
law,” Professor Barbas said.

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